Case 24-55036-jwc           Doc 20   Filed 06/03/24 Entered 06/04/24 16:30:46   Desc Main
                                     Document      Page 1 of 2


                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                 Case No.:   •2-L( -55'0 310D LA) e_
Cer
                                                       Chapter:

                Debtor(s)

          Ki-Q4/) Si 0 el

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     ci tick;               Comsi cfrt
   • n5Kq                                cLs.




 Dated:   10'       2,132i1           Signature:



                                      Printed Name:                      S 44,
                                      Address:         • S 5 zck        CL..) avkso
                                                                                 .36241
                                      Phone:
   Case 24-55036-jwc         Doc 20     Filed 06/03/24 Entered 06/04/24 16:30:46           Desc Main
                                        Document      Page 2 of 2


                               UNITED STATES BANKRUPTCY COURT

                                  NORTHERN DISTRICT OF GEORGIA

                                            ATLANTA DIVISION

                                                                  29, 5S                      (),Jk.
IN RE:   C-K ft-4)fk)                                Case No:
                                                                                      r"




                                                     Chapter



               Debtor(s)

                                            CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the    day of          , 202A I served a copy of



which was filed in this bankruptcy matter on the 3yci, day of J
                                                              , (.41,0.   , 202_1.1




Mode of service (check one):               0 MAILED                verHAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):



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                 c,     acc_Avt-tiof)
I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Dated:                                               Signature:

                                                      Printed Name:



                                                     ?1 :14ssIc-1 (5uJca,v\ov)
                                                               uu3od ) CoV4--
                                                      Phone:

(Generic Certificate of Service — Revised 4/13)
